            Case 1:17-cv-01044-RCL Document 21 Filed 02/13/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
CENTER FOR BIOLOGICAL DIVERSITY,           )
                                          )
                                          )
                  Plaintiff,              )
       v.                                 )
                                          ) Case No. 17-cv-1044 (RCL)
UNITED STATES ENVIRONMENTAL               )
  PROTECTION AGENCY,                      )
                                          )
                  Defendant.              )
__________________________________________)

                                   JOINT STATUS REPORT

       On December 14, 2017, the parties filed a status report with a proposed processing

schedule in which they stated that they would file another status report on or before February 14,

2018, and requested that the Court defer setting a briefing schedule. Accordingly, the parties, by

and through undersigned counsel, provide the following update as to the status of this matter.

       1.       The FOIA request at issue in the original Complaint in this action is a request that

EPA received on March 22, 2017, from the Center for Biological Diversity (“CBD”), that

requested certain records relating to Executive Order 13778, titled “Restoring the Rule of Law,

Federalism, and Economic Growth by Reviewing the ‘Waters of the United States’ Rule.”

Specifically, the request sought: all communications with outside parties discussing or

referencing the executive order and/or its content or development, all records discussing or

referencing the Executive Order and/or its content, including but not limited to records that

discuss or reference the development and/or implementation of the order or its content, all

records discussing or referencing any request or authorization from EPA’s Designated Agency

Ethics Official for the EPA Administrator to participate in the development or implementation of
            Case 1:17-cv-01044-RCL Document 21 Filed 02/13/18 Page 2 of 3



the order, and all records generated by the Ethics Official and/or his office in connection with the

preparation of the order and/or its content or development. EPA assigned the request reference

number EPA-HQ-2017-005166.

        2.      On April 19, 2017, EPA received a related request under FOIA from CBD. That

request sought: “all records that reference, discuss, and/or facilitate the repeal and/or rewrite of

the rule defining the ‘waters of the United States’” under the Clean Water Act, including, but not

limited to, responsive records between EPA and third parties. EPA assigned the request

reference number EPA-HQ-2017-006341. That request was included in the First Amended

Complaint filed in this matter.

       3.       EPA is conducting a search to locate records responsive to both requests. With

respect to the first request (Request No. 2017-005166), EPA’s search has identified

approximately 60,000 potentially responsive records. The search identified approximately

30,000 additional records potentially responsive to the second request (Request No. 2017-

006341).

       4.       With respect to a processing schedule, the parties reported in the prior status

report that Defendant will endeavor to process approximately 2,000 potentially responsive

records per month and to make a monthly rolling production of the processed, non-exempt

records responsive to the request. Since the last status report, Defendant states that it has

continued to process over 2,000 potentially responsive records per month for December 2017

and January 2018, respectively. By letter dated December 31, 2017, Defendant produced 277

documents totaling approximately 1400 pages and, by letter dated January 31, 2018, Defendant

produced 320 documents totaling more than 3000 pages. Defendant expects to make subsequent

productions on or about the last day of each following month until all non-exempt, responsive
             Case 1:17-cv-01044-RCL Document 21 Filed 02/13/18 Page 3 of 3



records have been produced. Defendant reserves the right to seek to modify the processing

schedule in the event the agreed rate of processing becomes infeasible and will confer with

Plaintiff if that becomes an issue.

        5.       In light of the above, the parties propose that they provide a further status report

to the Court on or before April 18, 2018, and that the Court defer setting a briefing schedule at

this time.

                                        Respectfully submitted,

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